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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA
                                FORT WAYNE DIVISION

R. DAVID BOYER, TRUSTEE                        )
                                               )
                       Plaintiff,              )
                                               )
       v.                                      )          CAUSE NO. 1:05-CV-129-TS
                                               )
CHRISTOPHER GILDEA et. al,                     )
                                               )
                       Defendants.             )

                                      ORDER & OPINION

       This matter is before the Court on Defendant Arlington Capital, LLC’s Motion to Amend

Order of August 24, 2007 [DE 129], filed on September 24, 2007. The Plaintiff responded on

October 4, 2007 [DE 131], the Defendant replied on October 11, 2007 [DE 132], and the

Plaintiff moved for leave to file a Surreply on October 18, 2007 [DE 135]. For the reasons stated

below, the Plaintiff’s motion for leave to file a Surreply is GRANTED and the Defendant’s

motion to amend is GRANTED.



                                         BACKGROUND

       The Court previously outlined the history of this case in its August 24, 2007, Opinion and

Order [DE 124]. A brief discussion focused on the more recent history should therefore suffice

here. On October 5, 2006, this Court entered its Opinion and Order dismissing three counts filed

by the Plaintiff, Trustee David Boyer, against the Defendants Katherine Gildea, Michael Motter,

Matt Mercer, Anita Gildea, Arlington Capital LLC, GT Acquisition LLC, GT Enterprises LLC,

and Gildea & Gorman LLC. On October 16, 2006, the Trustee filed a motion to reconsider. The

Court then declined to alter its decision to dismiss the Trustee’s Counts III and IV, but the Court

did find that the Trustee had presented sufficient evidence to create a triable issue of fact on
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Count V as to whether the Defendants entered into an agreement with the intent to control the

price at auction.

       Following the Court’s August 24, 2007, Order, the Defendant moved the Court to certify

for appeal the following three questions:

       1.      Whether, in an action under 11 U.S.C. § 363(n), an agreement between potential
               bidders that one party would not bid could actually have controlled the price at
               auction where the property was sold, in accordance with 11 U.S.C. § 363(f), with
               the secured creditors’ consent for a sum less than the amount of the liens against
               the property; and

       2.      Whether an agreement between Arlington Capital and the Gildea Group, that the
               Gildea Group would not bid, could actually have controlled the price at auction in
               violation of 11 U.S.C. § 363(n) when Arlington Capital and Comerica Bank
               entered into an agreement that Comerica Bank would consent to a sale free and
               clear of its liens for the sum of $2,725,000 at auction, and Comerica Bank
               consented to the sale; and

       3.      Whether Comerica Bank’s consent to a sale of its collateral for a sum less than the
               amount of its liens is dispositive of the fair value of the assets sold.



                                            ANALYSIS

       The Court may amend its Order and certify it for appeal if it “involves a controlling

question of law, as to which there is a substantial ground for difference of opinion and that an

immediate appeal from the order may materially advance the ultimate determination of the

litigation.” 28 U.S.C. § 1292(b); see also Ahrenholz v. Bd. of Trs. of Univ. of Ill., 219 F.3d 674,

675 (7th Cir. 2000); Buckley v. Fitzsimmons, 919 F.2d 1230, 1239 (7th Cir. 1990), vacated on

other grounds, 502 U.S. 801 (1991) (holding that federal rules of appellate procedure allow a

district court judge to amend its ruling to add a § 1292(b) certification); Fed. R. App. P. 5(a)(3).

Here, the Court finds that amending its August 24, 2007, Order to add § 1292(b) language is


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appropriate.

       In its Memorandum in Support of Motion to Amend Order [DE 130], the Defendant

argues that it has satisfied the statutory requirements of 28 U.S.C. § 1292(b) as well as the

requirements of Ahrenholz v. Board of Trustees of the University of Illinois, 219 F.3d 674 (7th

Cir. 2000), and, as a result, this Court must certify the case for appeal. The Defendant asserts that

the facts relevant to the issues are undisputed. Those facts, as the Defendant presents them, are

that: (1) Comerica Bank had a lien against the assets sold at auction that greatly exceeded the

amount at which the assets were sold; (2) Arlington Capital and Comerica Bank entered into a

written agreement that Comerica Bank would consent to a sale of the assets for a sum of

$2,725,000; (3) Arlington Capital actually bid $2,725,000 at auction; and (4) Comerica Bank

credit bid an amount $5,000 under Arlington Capital’s bid. The Defendant then argues that the

legal issues related to these facts are controlling and contestable, their expeditious resolution will

speed up the litigation, and finally that the motion is timely.

       The Plaintiff primarily takes issue with the Defendant’s characterization of the facts.

While the Defendant repeatedly asserts that Arlington submitted a bid at auction, in actuality

GTA Acquisition was the entity submitting the bid, and Arlington was merely a member of GTA

Acquisition. Had Comerica known the identities of the members of GTA Acquisition, the

Plaintiff argues, the creditors would have objected to the sale or would have insisted that the

Debtor’s estate be paid $600,000. The Plaintiff argues that this factual dispute undermines the

Defendant’s claim that the issues presented for certification are merely questions of law.

       The Court has repeatedly acknowledged that GTA Acquisition submitted the winning and

approved bid for the Debtor’s assets. However, the Court does not see how this distinction


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affects the amenability of this case to interlocutory appeal. Even given the Plaintiff’s more

accurate description of the facts, the Plaintiff fails to demonstrate how this distinction

undermines the fact that the actual questions presented for appeal are purely questions of law

that are controlling, contestable, and of a nature that their early resolution will speed up the

litigation. Because the Plaintiff fails to connect his factual distinction with the questions

presented for appeal, and because the Court itself does not recognize such a distinction, the

Plaintiff’s argument in this regard must fail.

          The Plaintiff also argues that the Defendant’s request is untimely. The Court issued its

Opinion and Order on August 24, 2007, and the Defendant moved to amend on September 24,

2007. The Defendant’s memorandum of law explains that the reason it waited almost thirty days

to file its motion is that it anticipated that the Plaintiff would appeal from this Court’s September

9, 2007, Order and that such an appeal would need to be addressed along with a motion to certify

for interlocutory appeal. The Court is satisfied with that explanation, and even notwithstanding

that reason for delay, the Plaintiff makes little effort to explain why filing the motion 30 days

after the Order represents undue delay. The Court therefore finds that the Defendant’s motion is

timely.

          The Plaintiff’s final argument is that the Defendant’s motion is merely an attempt to

avoid trial. As the Defendant correctly points out, there is nothing inherently wrong with trying

to avoid trial through an interlocutory appeal. Here, the Defendant has not requested, and the

Court will not be issuing, a stay of the proceedings. An interlocutory appeal will not prolong the

pre-trial and trial schedule. On the other hand, the appeal may materially expedite the resolution

of this case and avoid the need for a trial on Count V. The parties have only very recently filed a


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proposed discovery schedule, and that schedule contemplates that discovery will not be complete

until nine months from now. The Defendant has also indicated that after discovery is complete, it

will likely be filing another motion for summary judgment. If the Defendant does not prevail on

that motion, then a trial will ensue afterward. If the Court of Appeals reverses this Court’s

summary judgment order, such a reversal will likely dispose of a significant portion of this case.

       28 U.S.C. § 1292(b) requires four things for certification. First, the issues for appeal must

be questions of law. Second, the issues must be controlling. Third, there must be substantial

ground for difference of opinion. Finally, an immediate appeal from the order must materially

advance the ultimate resolution of the litigation. The Plaintiff quarrels with the Defendant’s

presentation of the facts, but the Plaintiff does not argue that the issues presented for appeal are

not questions of law. The Plaintiff does not explain why the issues presented by the Defendant

are not controlling, or why their resolution would not advance the litigation. The Defendant

therefore has the better argument in demonstrating that this case should be certified for appeal.

       Finally, the Plaintiff’s surreply simply repeats the arguments that were made in its earlier

response. However, the Defendant did not file any objection to the Plaintiff’s Motion for Leave

to File a Surreply. The Court will therefore grant the Motion for Leave to File Surreply.



                                              ORDER

       For the foregoing reasons, the Court GRANTS the Plaintiff’s Motion for Leave to File

Surreply [DE 135], GRANTS the Defendant’s Motion to Amend Order of August 24, 2007 [DE

129], and will enter an Amended Memorandum and Order containing § 1292(b) certification

language. The amended order will not stay the district court proceedings during the resolution of


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any appeal.

       SO ORDERED on November 5, 2007.



                                     s/ Theresa L. Springmann
                                     THERESA L. SPRINGMANN
                                     UNITED STATES DISTRICT COURT




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